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                                  EXHIBIT A




{1368.002-W0074074.2}
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

FTX TRADING LTD., et al., 1                                   Case No. 22-11068 (JTD)

         Debtors.                                             (Jointly Administered)

                                                              Ref. Nos. 5114 & 5117


                          ORDER SUSTAINING DEBTORS’ SEVENTH
                      (SUBSTANTIVE) OMNIBUS OBJECTION TO CERTAIN
                     OVERSTATED PROOFS OF CLAIM (CUSTOMER CLAIMS)

                     Upon the seventh omnibus objection (the “Objection”) 2 of FTX Trading Ltd. and

its affiliated debtors and debtors-in-possession (collectively, the “Debtors”), for entry of an order

(this “Order”) sustaining the Objection and modifying and reducing the Overstated Claims set

forth in Schedule 1 attached hereto, and this Court having jurisdiction to consider the Objection

pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the

United States District Court for the District of Delaware, dated February 29, 2012; and this Court

being able to issue a final order consistent with Article III of the United States Constitution; and

venue of these Chapter 11 Cases and the Objection in this district being proper pursuant to 28

U.S.C. §§ 1408 and 1409; and this matter being a core proceeding pursuant to 28 U.S.C.

§ 157(b); and this Court having found that proper and adequate notice of the Objection and the

relief requested therein has been provided in accordance with the Bankruptcy Rules and the

Local Rules, and that, except as otherwise ordered herein, no other or further notice is necessary;


1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288
    and 4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of
    the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A
    complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
2
    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Objection.


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and responses (if any) to the Objection having been withdrawn, resolved or overruled on the

merits; and a hearing having been held to consider the relief requested in the Objection and upon

the record of the hearing and all of the proceedings had before this Court; and this Court having

found and determined that the relief set forth in this Order is in the best interests of the Debtors

and their estates; and that the legal and factual bases set forth in the Objection establish just

cause for the relief granted herein; and after due deliberation and sufficient cause appearing

therefor;

                     IT IS HEREBY ORDERED THAT:

                     1.   The Objection is SUSTAINED as set forth herein.

                     2.   Each Overstated Claim set forth in Schedule 1 attached hereto is modified

and reduced. The claims listed in the column titled “Modified Claims” identified on Schedule 1

attached hereto shall remain on the claims register, subject to the Debtors’ further objections on

any substantive or non-substantive grounds.

                     3.   Should one or more of the grounds of objection stated in the Objection be

dismissed, the Debtors’ right to object on any other grounds that the Debtors discover is

preserved.

                     4.   To the extent a response is filed regarding any Overstated Claim, each

such Overstated Claim, and the Objection as it pertains to such Overstated Claim, will constitute

a separate contested matter as contemplated by Bankruptcy Rule 9014. This Order will be

deemed a separate order with respect to each Overstated Claim. Any stay of this Order pending

appeal by any claimants whose claims are subject to this Order shall only apply to the contested

matter which involves such claimant and shall not act to stay the applicability and/or finality of

this Order with respect to the other contested matters listed in the Objection or this Order.



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                     5.   The Debtors are authorized and empowered to execute and deliver such

documents, and to take and perform all actions necessary to implement and effectuate the relief

granted in this Order.

                     6.   Nothing in this Order or the Objection is intended or shall be construed as

a waiver of any of the rights the Debtors may have to enforce rights of setoff against the

claimants.

                     7.   Nothing in the Objection or this Order, nor any actions or payments made

by the Debtors pursuant to this Order, shall be construed as: (a) an admission as to the amount of,

basis for, or validity of any claim against the Debtors under the Bankruptcy Code or other

applicable non-bankruptcy law; (b) a waiver of the Debtors’ or any other party-in-interest’s right

to dispute any claim; (c) a promise or requirement to pay any particular claim; (d) an implication

or admission that any particular claim is of a type specified or defined in this Order; (e) an

admission as to the validity, priority, enforceability, or perfection of any lien on, security interest

in, or other encumbrance on property of the Debtors’ estates; or (f) a waiver of any claims or

causes of action which may exist against any entity under the Bankruptcy Code or any other

applicable law.

                     8.   This Order is immediately effective and enforceable, notwithstanding the

possible applicability of Bankruptcy Rule 6004(h) or otherwise.

                     9.   This Court shall retain jurisdiction with respect to any matters, claims,

rights or disputes arising from or related to the Objection or the implementation of this Order.

 Dated: ___________________
        Wilmington, Delaware                             The Honorable John T. Dorsey
                                                         United States Bankruptcy Judge




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                                     SCHEDULE 1

                                    Overstated Claims




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                                                                                                       FTX Trading Ltd. 22‐11068 (JTD)
                                                                                                     Seventh Omnibus Claims Objection
                                                                                                        Schedule 1 ‐ Modified Claims

                                                                                                    Asserted Claims                                                                              Modified Claim
  Claim
 Number              Name                                 Debtor                          Tickers                                Ticker Quantity                              Debtor                              Ticker Quantity
32900   Name on file                          FTX Trading Ltd.                 ATOM                                                     2,025,072.000000000000000 FTX Trading Ltd.                                    20.250720000000000
                                                                               BRZ                                                                                                                                     0.186705690000000
                                                                               MANA                                                         488,873.000000000000000                                                 488.873000000000000
                                                                               POLIS                                                         99,981.000000000000000                                                    0.099981000000000
                                                                               SAND                                                      46,591,146.000000000000000                                                 465.911460000000000
                                                                               SOL                                                          359,272.000000000000000                                                    3.592720000000000
                                                                               SUSHI                                                        699,867.000000000000000                                                   69.986700000000000
                                                                               USD                                                                                                                                     0.642184240203913
                                                                               USDT                                                         69,153.000000000000000                                                  691.529124307271000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
33480      Name on file                         FTX EU Ltd.                      DOGE                                                           4,253.017200000000000 FTX Trading Ltd.                          4,253.017200000000000
                                                                                 EUR                                                      65,881,656.000000000000000                                                0.000000006588165
                                                                                 SHIB                                                      6,300,000.000000000000000                                       6,300,000.000000000000000
                                                                                 SOL                                                               13.078066000000000                                              13.078066000000000
                                                                                 USD                                           2,930,696,537,000,000.000000000000000                                                0.293069653700000
                                                                                 USDT                                                               0.827126160000000                                               0.827126160000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts. In addition, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim section.
7804       Name on file                         FTX Trading Ltd.                 AVAX‐PERP                                                                                FTX Trading Ltd.                               0.000000000000003
                                                                                 BTC                                                            4,343.000000000000000                                                    0.000043430000000
                                                                                 SOL                                                          99,563.000000000000000                                                     0.009956300000000
                                                                                 USD                                                               11.469685653360000                                                   11.469685653360000
                                                                                 USDT                                                              60.000000000000000                                                    0.598193405000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
29480      Name on file                         FTX Trading Ltd.                 POLIS                                                 2,910,007,485.000000000000000 FTX Trading Ltd.                              29.100074850000000
                                                                                 SOL                                                       5,543,907.000000000000000                                                0.055439070000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
16684      Name on file                         FTX Trading Ltd.                 APT                                                                                      FTX Trading Ltd.                          3.000000000000000
                                                                                 APTOS(APT)                                                        3.000000000000000                                                0.000000000000000
                                                                                 ATOM                                                            125.654000000000000                                                0.100000000000000
                                                                                 BNB                                                         658,120.000000000000000                                                0.000000010507422
                                                                                 BTC                                                               0.000034990000000                                                0.000034998500000
                                                                                 BTC‐PERP                                                                                                                          ‐0.000000000000014
                                                                                 DOT‐PERP                                                                                                                           0.000000000000227
                                                                                 DYDX‐PERP                                                                                                                          0.000000000001818
                                                                                 ETH                                                               0.100000000000000                                                0.000658125456304
                                                                                 FTT                                                             326.197935890000000                                              326.197935890766000
                                                                                 SUN                                                                                                                              125.654000000000000
                                                                                 SUN(SUN)                                                          3.000000000000000                                                0.000000000000000
                                                                                 TRX                                                               0.350139500000000                                                0.250139500000000
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                                                                                                   Seventh Omnibus Claims Objection
                                                                                                      Schedule 1 ‐ Modified Claims

                                                                                                  Asserted Claims                                                                           Modified Claim
 Claim
Number                  Name                             Debtor                         Tickers                               Ticker Quantity                                  Debtor                        Ticker Quantity
                                                                             USD                                                             5.100000000000000                                                    5.100696875927600
                                                                             USDT                                                        3,400.300000000000000                                               3,400.298697563880000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
73292      Name on file                         FTX Trading Ltd.                 AVAX                                                  9,999,999,999.000000000000000 FTX Trading Ltd.                              46.987588120000000
                                                                                 ETH                                                 999,999,999,999.000000000000000                                               12.569934660000000
                                                                                 ETHW                                                                                                                              12.569934660000000
                                                                                 SOL                                                 999,999,999,999.000000000000000                                              139.393016540000000
                                                                                 USD                                                                                                                                8.094824197568520

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
80191      Name on file                         FTX Trading Ltd.                 ALICE                                                                                    FTX Trading Ltd.                        181.926608000000000
                                                                                 BNB                                                              200.000000000000000                                               0.000000000000000
                                                                                 DOT                                                                                                                               35.500000000000000
                                                                                 EDEN                                                                                                                           4,059.351378000000000
                                                                                 ETH                                                              200.000000000000000                                               0.000000000000000
                                                                                 FTM                                                              200.000000000000000                                               0.000000000000000
                                                                                 FTT                                                              500.000000000000000                                               0.000513942772280
                                                                                 GRT                                                                                                                            1,449.000000000000000
                                                                                 LUNA2                                                                                                                              5.398181419000000
                                                                                 LUNA2_LOCKED                                                                                                                      12.595756640000000
                                                                                 LUNC                                                     20,000,000.000000000000000                                       1,175,465.369137500000000
                                                                                 SHIB                              400,000,000,000,000,000,000,000.000000000000000                                       297,693,469.796728000000000
                                                                                 SOL                                                              560.000000000000000                                              72.854633668860600
                                                                                 UNI                                                                                                                              213.446631000000000
                                                                                 USD                                                          80,000.000000000000000                                              311.279491866457000
                                                                                 USDT                                                           2,000.000000000000000                                               0.620395546762829

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
51552      Name on file                         FTX Trading Ltd.                 BTC                                             391,685,890,999,946.000000000000000 FTX Trading Ltd.                               0.024295140000000
                                                                                 USD                                                         102,212.000000000000000                                                1.820000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
33392      Name on file                         West Realm Shires Services Inc.                                                                                           West Realm Shires Services Inc.
                                                                                 CORE NFT                                                           1.000000000000000                                               1.000000000000000
                                                                                 SHIB                                                               2.000000000000000                                               2.000000000000000
                                                                                 SOL                                                       8,257,227.000000000000000                                                0.082572270000000
                                                                                 THE HILL NFT                                                       1.000000000000000                                               1.000000000000000
                                                                                 USD                                                            1,498.000000000000000                                              14.982327675415400

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
11455      Name on file                         FTX Trading Ltd.                 BNB                                                               3.310146480000000 FTX Trading Ltd.                               3.310146480000000
                                                                                 ETH                                                               1.279671270000000                                                1.279671270000000
                                                                                 ETHW                                                              1.085160300000000                                                1.085160300000000
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                                                                                                   Seventh Omnibus Claims Objection
                                                                                                      Schedule 1 ‐ Modified Claims

                                                                                                  Asserted Claims                                                                           Modified Claim
 Claim
Number                  Name                             Debtor                         Tickers                               Ticker Quantity                                  Debtor                        Ticker Quantity
                                                                             TRX                                                             0.000019000000000                                                    0.000000000000000
                                                                             USD                                                         2,635.330309320000000                                               2,685.330309320000000
                                                                             USDC                                      500,000,000,000,000,000.000000000000000                                                    0.000000000000000
                                                                             USDT                                                            0.000000197072591                                                    0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
50231      Name on file                         FTX Trading Ltd.                 AVAX                                                              0.000000000000000 FTX Trading Ltd.                               0.099981000000000
                                                                                 BTC                                                               0.004169490000000                                                0.049790538000000
                                                                                 CHILIZ (CHZ)                                                    200.858903760000000                                                0.000000000000000
                                                                                 DOT                                                               0.000000000000000                                                1.999620000000000
                                                                                 ETH                                                               0.059970870000000                                                0.038992590000000
                                                                                 ETHW                                                              0.059226280000000                                                0.038992590000000
                                                                                 EUR                                                               0.002338397691635                                                0.000000009130151
                                                                                 FTT                                                               0.000000000000000                                                1.499677000000000
                                                                                 LUNA2                                                             0.000000000000000                                                0.000022957527740
                                                                                 LUNA2_LOCKED                                                      0.000000000000000                                                0.000053567564730
                                                                                 LUNC                                                              0.000000000000000                                                4.999050000000000
                                                                                 MATIC (MATIC)                                                     6.237915560000000                                                0.000000000000000
                                                                                 SAND (SAND)                                                       0.989613130000000                                                0.000000000000000
                                                                                 SOL                                                      11,010,177.000000000000000                                                0.249952500000000
                                                                                 TRON (TRX)                                                       11.444066510000000                                                0.000000000000000
                                                                                 USD                                                               0.000000000000000                                                0.000000007512723
                                                                                 USDT                                                            349.630000000000000                                              245.620960790000000
                                                                                 XRP                                                               0.000000000000000                                              111.978720000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
32654      Name on file                         FTX Trading Ltd.                 BTC                                                            7,012.000000000000000 FTX Trading Ltd.                              0.000070120000000
                                                                                 ETH                                                            1,838.000000000000000                                               0.000018380000000
                                                                                 USD                                                              164.399390000000000                                        164,399.385605169000000
                                                                                 USDT                                                        982,278.000000000000000                                            9,822.778045426830000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
83256      Name on file                         FTX Trading Ltd.                 AKRO                                                               2.000000000000000 FTX Trading Ltd.                              2.000000000000000
                                                                                 AVAX                                                              14.553367610000000                                              14.553367610000000
                                                                                 BAO                                                            2,198.408247900000000                                           2,198.408247900000000
                                                                                 BF_POINT                                                                                                                         200.000000000000000
                                                                                 BNB                                                                0.938071770000000                                               0.938071770000000
                                                                                 CEL                                                              130.101554300000000                                             130.101554300000000
                                                                                 DENT                                                                                                                               3.000000000000000
                                                                                 DOGE                                                               1.000000000000000                                               1.000000000000000
                                                                                 ETH                                                                2.181781390000000                                               2.181781390000000
                                                                                 ETHW                                                               2.180865070000000                                               2.180865070000000
                                                                                 EUR                                                                                                                                0.000000690616941
                                                                                 KIN                                                         611,866.366580620000000                                         611,866.366580620000000
                                                                                 RSR                                                                4.000000000000000                                               4.000000000000000
                                                                                 SOL                                                               13.968715084323530                                              13.968715084323500
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                                                                                                     Seventh Omnibus Claims Objection
                                                                                                        Schedule 1 ‐ Modified Claims

                                                                                                    Asserted Claims                                                                              Modified Claim
 Claim
Number                   Name                             Debtor                          Tickers                                Ticker Quantity                                    Debtor                        Ticker Quantity
                                                                               TRX                                                             19.009521520000000                                                     19.009521520000000
                                                                               UBXT                                                              5.000000000000000                                                     5.000000000000000
                                                                               USD                                      3,927,593,410,871,957,576.000000000000000                                                   542.759341087196000
                                                                               USDC                                                           150.000000000000000                                                      0.000000000000000
                                                                               USDT                                                                                                                                    0.000000004344314

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
30089      Name on file                         FTX Trading Ltd.                 AAVE                                                      1,699,677.000000000000000 FTX Trading Ltd.                               0.169967700000000
                                                                                 ATLAS                                                     3,995,459.000000000000000                                              399.545900000000000
                                                                                 BILEŞIK BELIRTEÇ (COMP)                                  16,596,846.000000000000000                                                0.000000000000000
                                                                                 COMP                                                                                                                               0.165968460000000
                                                                                 FTT                                                         899,544.000000000000000                                                0.899544000000000
                                                                                 POLIS                                                        98,613.000000000000000                                                0.098613000000000
                                                                                 USD                                                               55.000000000000000                                               0.000000008303253
                                                                                 USDT                                                           3,787.000000000000000                                              37.871592773845100

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
56465      Name on file                         FTX EU Ltd.                      EUR                                                               0.112800540000000 FTX Trading Ltd.                               0.112800540000000
                                                                                 EURT                                                              0.414600000000000                                                0.414600000000000
                                                                                 FTT                                                               0.004822287200000                                                0.004822287200000
                                                                                 PAXG                                                              0.000010720000000                                                0.000010720000000
                                                                                 SXP                                                               0.048700000000000                                                0.048700000000000
                                                                                 USD                                                     111,751,745.000000000000000                                            9,680.439884822200000
                                                                                 USDT                                                              0.001032420000000                                                0.001032420000000
                                                                                 XRP                                                               0.894800000000000                                                0.894800000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts. In addition, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim section.
82818      Name on file                         FTX Trading Ltd.                 BTC                                                          10,000.000000000000000 FTX Trading Ltd.                                    0.199960000000000
                                                                                 ETH                                                            7,599.370000000000000                                                    1.999600000000000
                                                                                 ETHW                                                                                                                                    1.999600000000000
                                                                                 SOL                                                                                                                                    66.646668000000000
                                                                                 USD                                                          32,517.630000000000000                                                32,517.636283560000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
84430      Name on file                         FTX Trading Ltd.                 ATLAS                                                        25,530.000000000000000 FTX Trading Ltd.                         25,530.000000000000000
                                                                                 DEFIBULL                                                          14.000000000000000                                              14.944086400000000
                                                                                 DOGEBULL                                                         416.784166269000000                                             416.784166269000000
                                                                                 ETCBEAR                                                                                                                  78,084,380.000000000000000
                                                                                 ETHBULL                                                  78,084,380.000000000000000                                                0.000000000000000
                                                                                 LINKBULL                                                                                                                         812.600000000000000
                                                                                 MATICBULL                                                      2,630.973700000000000                                           2,630.973700000000000
                                                                                 SUSHIBULL                                                 4,449,000.000000000000000                                       4,449,000.000000000000000
                                                                                 THETABULL                                                        141.000000000000000                                             141.899662400000000
                                                                                 TRX                                                                                                                                0.000091000000000
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                                                                                                   Seventh Omnibus Claims Objection
                                                                                                      Schedule 1 ‐ Modified Claims

                                                                                                  Asserted Claims                                                                           Modified Claim
 Claim
Number                  Name                             Debtor                         Tickers                               Ticker Quantity                                  Debtor                        Ticker Quantity
                                                                             USD                                                                                                                                  0.003341929600000
                                                                             VETBULL                                                                                                                           842.600000000000000
                                                                             XTZBULL                                                                                                                         3,767.248200000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
45171      Name on file                         FTX Trading Ltd.                 DOT‐PERP                                                           0.000000000000017 FTX Trading Ltd.                              0.000000000000017
                                                                                 LINK‐PERP                                                          0.000000000000000                                              ‐0.000000000000024
                                                                                 SOL‐PERP                                                           0.000000000000000                                              ‐0.000000000000007
                                                                                 TRX                                                                0.000777000000000                                               0.000777000000000
                                                                                 USD                                                            6,514.952753110850000                                           6,514.952753110850000
                                                                                 USDT                                          6,514,952,753,110,851.000000000000000                                                0.000000006490495

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
26140      Name on file                         FTX Trading Ltd.                 BNB                                                                                      FTX Trading Ltd.                          0.000000002800000
                                                                                 BRZ                                                      61,007,802.000000000000000                                                0.000000006100780
                                                                                 BTC                                              44,976,580,000,000.000000000000000                                                0.004497658000000
                                                                                 ETH                                             339,956,800,000,000.000000000000000                                                0.033995680000000
                                                                                 ETHW                                            279,967,600,000,000.000000000000000                                                0.027996760000000
                                                                                 LINK                                                              3.300000000000000                                                3.300000000000000
                                                                                 SOL                                                               0.000000004000000                                                0.000000004000000
                                                                                 USD                                                              59.195041511802512                                               59.195041511802500
                                                                                 USDT                                                              1.301287385436671                                                1.301287385436670
                                                                                 XRP                                                      40,157,941.000000000000000                                                0.000000004015794

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
36306      Name on file                         FTX Trading Ltd.                 BNB                                                               0.195482093653994 FTX Trading Ltd.                               0.195482093653994
                                                                                 BTC                                                               0.000000001800000                                                0.000000001800000
                                                                                 ETH                                                               0.000000008979950                                                0.000000008979950
                                                                                 FTT                                        189,679,595,760,000,000.000000000000000                                                18.967959576000000
                                                                                 TONCOIN                                                         124.859353120000000                                              124.859353120000000
                                                                                 USD                                              21,439,981,699,215.000000000000000                                                0.002143998169921
                                                                                 USDT                                                             48.116472424167067                                               48.116472424167100

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
46824      Name on file                         West Realm Shires Services Inc. AUD                                              472,487,110,141,900.000000000000000 West Realm Shires Services Inc.                0.472458711014190
                                                                                 BCH                                                      82,950,100.000000000000000                                                0.000000008295010
                                                                                 BTC                                                      10,000,000.000000000000000                                                0.000000001000000
                                                                                 USD                                        109,776,047,083,533,233.000000000000000                                                 1.097760470835320

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
8680       Name on file                         FTX EU Ltd.                      ADABULL                                                  35,961,715.000000000000000 FTX Trading Ltd.                             359.617150007000000
                                                                                 ATOMBULL                                                                                                                  2,904,898.500000000000000
                                                                                 BTC                                                                                                                                0.000000009064850
                                                                                 CHF                                                               0.000000005559017                                                0.000000005559017
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                                                                                                     Seventh Omnibus Claims Objection
                                                                                                        Schedule 1 ‐ Modified Claims

                                                                                                    Asserted Claims                                                                                 Modified Claim
 Claim
Number                   Name                              Debtor                         Tickers                                  Ticker Quantity                                    Debtor                        Ticker Quantity
                                                                                DOGEBULL                                                                                                                            1,157.039800000000000
                                                                                ETHBULL                                                 131,979,033.000000000000000                                                     13.197903300000000
                                                                                FTT                                                                                                                                      0.000000002689976
                                                                                LINKBULL                                                                                                                          255,904.430000000000000
                                                                                LUNA2                                                                                                                                    0.400139159700000
                                                                                LUNA2_LOCKED                                                                                                                             0.933658039300000
                                                                                MATICBULL                                                                                                                          55,806.102000000000000
                                                                                SUSHIBULL                                                                                                                             887.600000000000000
                                                                                USD                                                               90.528295351728400                                                    90.528295351728400
                                                                                USDT                                                                                                                                     0.000000001888179
                                                                                VETBULL                                                          558.860160000000000                                              558,860.160000000000000
                                                                                XRPBULL                                                                                                                         2,519,450.900000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts. In addition, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim section.
76254     Name on file                        FTX Trading Ltd.                  ALICE‐PERP                                                                                FTX Trading Ltd.                               ‐0.000000000000113
                                                                                AXS‐PERP                                                                                                                                  0.000000000000000
                                                                                BCH‐PERP                                                                                                                                  0.000000000000000
                                                                                BNB‐PERP                                                                                                                                  0.000000000000000
                                                                                BSV‐PERP                                                                                                                                  0.000000000000012
                                                                                DASH‐PERP                                                                                                                                 0.000000000000000
                                                                                DYDX‐PERP                                                                                                                                 0.000000000000071
                                                                                EOS‐PERP                                                                                                                                 ‐0.000000000000056
                                                                                ETC‐PERP                                                                                                                                  0.000000000000000
                                                                                ETH‐PERP                                                                                                                                  0.000000000000000
                                                                                EXCH‐PERP                                                                                                                                 0.000000000000000
                                                                                FIL‐PERP                                                                                                                                 ‐0.000000000000106
                                                                                FLOW‐PERP                                                                                                                                ‐0.000000000000277
                                                                                FTT‐PERP                                                                                                                                 ‐0.000000000000007
                                                                                ICP‐PERP                                                                                                                                 ‐0.000000000000003
                                                                                LTC‐PERP                                                                                                                                 ‐0.000000000000005
                                                                                MVDA10‐PERP                                                                                                                               0.000000000000000
                                                                                NEO‐PERP                                                                                                                                 ‐0.000000000000022
                                                                                USD                                                          13,538.712889515639286                                                  13,538.712889515600000
                                                                                USDT                                                    103,088,566.000000000000000                                                       0.000000010308856

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
30146      Name on file                         FTX Trading Ltd.                 BTC                                                                                      FTX Trading Ltd.                          0.024799910695078
                                                                                 BULL                                                      2,479,991.000000000000000                                                0.000000000000000
                                                                                 ETHW                                                              1.000000000000000                                                1.000000000000000
                                                                                 EUR                                                                                                                                0.000000012451662
                                                                                 FTT                                                               1.044980610000000                                                1.044980614300000
                                                                                 LUNC‐PERP                                                                                                                          0.000000000000007
                                                                                 SOL                                                               0.039732470000000                                                0.039732473118742
                                                                                 USD                                                               2.830000000000000                                                2.829442904340520
                                                                                 USDT                                                                                                                               0.000000009605598
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                                                                                                  Seventh Omnibus Claims Objection
                                                                                                     Schedule 1 ‐ Modified Claims

                                                                                                    Asserted Claims                                                                               Modified Claim
  Claim
 Number                    Name                              Debtor                         Tickers                                 Ticker Quantity                                    Debtor                    Ticker Quantity
Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
31334      Name on file                         FTX Trading Ltd.                 ETH                                                          34,321.000000000000000 FTX Trading Ltd.                                 0.000343210000000
                                                                                 LTC                                                         785,894.000000000000000                                                  0.007858940000000
                                                                                 LUNA2                                                              6.000000000000000                                                 0.000000035719516
                                                                                 LUNA2_LOCKED                                                                                                                         0.000000083345539
                                                                                 USD                                                                1.000000000000000                                                 0.007474462107324
                                                                                 USDT                                                        105,005.000000000000000                                             1,050.049376736020000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
22892      Name on file                         FTX Trading Ltd.                 BTC                                                            4,735.000000000000000 FTX Trading Ltd.                              0.473500000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
21853      Name on file                         FTX Trading Ltd.                 ALGO                                                                                     FTX Trading Ltd.                      1,122.884402720000000
                                                                                 ALGORAND (ALGO)                                                1,122.884402720000000                                               0.000000000000000
                                                                                 APE                                                               36.592369230000000                                              36.592369230000000
                                                                                 ATOM                                                               2.715614750000000                                               2.715614750000000
                                                                                 AUDIO                                                                                                                          1,292.386653510000000
                                                                                 AUDIUS (AUDIO)                                                 1,292.386653510000000                                               0.000000000000000
                                                                                 BTC                                                                0.100931570000000                                               0.100931570000000
                                                                                 CHZ                                                               33.356224030000000                                              33.356224030000000
                                                                                 DOT                                                               24.350829260000000                                              24.350829260000000
                                                                                 ETH                                                                0.009308180000000                                               0.009308180000000
                                                                                 FTM                                                               39.095687100000000                                              39.095687100000000
                                                                                 FTT                                                               47.385597630000000                                              47.385597630000000
                                                                                 MANA                                                             202.517827460000000                                             202.517827460000000
                                                                                 MATIC                                                              4.494842350000000                                               4.494842350000000
                                                                                 RAY                                                              230.131100520000000                                             230.131100520000000
                                                                                 SOL                                                               15.017472820000000                                              15.017472820000000
                                                                                 SXP                                                              230.956550890000000                                             230.956550890000000
                                                                                 USD                                             543,993,283,730,000.000000000000000                                               54.399328373000000
                                                                                 USDT                                                              26.788716411979300                                              26.788716411979300

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
21920      Name on file                         FTX Trading Ltd.                 BTC‐PERP                                                                                 FTX Trading Ltd.                          0.000000000000000
                                                                                 SOL                                                      10,358,601.000000000000000                                              103.586010000022000
                                                                                 USD                                                         324,034.000000000000000                                            3,240.340040698760000
                                                                                 USDT                                                                                                                               0.000000004000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
17940      Name on file                         FTX Trading Ltd.                 BTC                                                          30,000.000000000000000 FTX Trading Ltd.                               0.791172691720500
                                                                                 DOGE                                                                                                                           2,617.481878780000000
                                                                                 ETH                                                          30,000.000000000000000                                                9.887549687100000
                                                                                 ETHW                                                                                                                               9.887549687100000
                                                                                 SOL                                                                                                                                2.428445970000000
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                                                                                                   Seventh Omnibus Claims Objection
                                                                                                      Schedule 1 ‐ Modified Claims

                                                                                                  Asserted Claims                                                                           Modified Claim
 Claim
Number                  Name                             Debtor                         Tickers                               Ticker Quantity                                  Debtor                        Ticker Quantity
                                                                             USD                                                                                                                                  0.000055523309352
                                                                             USDT                                                                                                                                 0.000042476994697

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
83009      Name on file                         FTX Trading Ltd.                 SOL                                           8,998,200,000,000,000.000000000000000 FTX Trading Ltd.                               0.899820000000000
                                                                                 USD                                                               1.957400000000000                                                1.957400000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
31464      Name on file                         FTX Trading Ltd.                 AXELAR (WAXL)                                                    200.000000000000000 FTX Trading Ltd.                              0.000000000000000
                                                                                 EUR                                                                                                                                0.000000005357962
                                                                                 LTC                                                      14,097,321.000000000000000                                                1.409732100000000
                                                                                 USD                                                                                                                                0.000000004340840
                                                                                 USDT                                                           2,551.000000000000000                                              25.514636667199700
                                                                                 WAXL                                                                                                                             200.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
42957      Name on file                         FTX Trading Ltd.                 USD                                                     127,162,000.000000000000000 FTX Trading Ltd.                               0.000000000000000
                                                                                 USDT                                                                                                                        127,162.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
62659      Name on file                         FTX Trading Ltd.                 PUNDIX‐PERP                                             253,000,000.000000000000000 FTX Trading Ltd.                               0.000000000000000
                                                                                 USD                                                               0.284472071000000                                                0.284472071000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
84373      Name on file                         West Realm Shires Services Inc.                                                                                           West Realm Shires Services Inc.
                                                                                 BAT                                                                1.000000000000000                                               1.000000000000000
                                                                                 BRZ                                                                2.000000000000000                                               2.000000000000000
                                                                                 BTC                                                          10,068.150000000000000                                                0.216929910000000
                                                                                 DOGE                                                           8,085.903191120000000                                           8,085.903191120000000
                                                                                 TRX                                                                1.000000000000000                                               1.000000000000000
                                                                                 USD                                                               10.001721034864600                                              10.001721034864600

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
71293      Name on file                         FTX Trading Ltd.                 IMX                                                         166,150.000000000000000 FTX Trading Ltd.                               0.000000000016615
                                                                                 TONCOIN                                                           7.999500538190972                                                7.999500538190970
                                                                                 USD                                           7,338,265,008,749,315.000000000000000                                                0.733826500874932

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
26841      Name on file                         FTX Trading Ltd.                 ETH                                                         369,926.000000000000000 FTX Trading Ltd.                               0.369926000000000
                                                                                 EUR                                                                                                                                0.500000000000000
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                                                                                                     Schedule 1 ‐ Modified Claims

                                                                                                    Asserted Claims                                                                                Modified Claim
  Claim
 Number                    Name                              Debtor                         Tickers                                 Ticker Quantity                                    Debtor                     Ticker Quantity
Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
80536      Name on file                         West Realm Shires Services Inc.                                                                                           West Realm Shires Services Inc.
                                                                                 BTC                                                          10,000.000000000000000                                                   0.264932790000000
                                                                                 CUSDT                                                                                                                                 2.000000000000000
                                                                                 DOGE                                                                                                                                  2.000019800000000
                                                                                 GRT                                                                                                                                   1.000000000000000
                                                                                 TRX                                                                                                                                   2.000000000000000
                                                                                 USD                                                          10,000.000000000000000                                              9,996.004557179440000
                                                                                 USDT                                                                                                                                  2.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
33942      Name on file                         FTX Trading Ltd.                 AURY                                                              3.000000000000000 FTX Trading Ltd.                               3.000000000000000
                                                                                 SOL                                                       4,499,696.000000000000000                                                0.449969600000000
                                                                                 USD                                                              53.000000000000000                                                0.533939770262500

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
84670      Name on file                         FTX Trading Ltd.                 BTC                                                  16,957,005,610.000000000000000 FTX Trading Ltd.                               0.105869320000000
                                                                                 EUR                                                                                                                                0.000001789262496
                                                                                 HOLY                                                                                                                               1.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
84514      Name on file                         FTX Trading Ltd.                 APE                                                                3.251238574150480 FTX Trading Ltd.                              3.251238574150480
                                                                                 BNB                                                              104.739797600000000                                               0.429287096111771
                                                                                 BNB‐PERP                                                         432.000000000000000                                               0.000000000000000
                                                                                 BULL                                                               0.000000009000000                                               0.000000009000000
                                                                                 ETHW                                                               0.018299450000000                                               0.018299450000000
                                                                                 FTT                                                            1,574.303050110420000                                           1,001.000000010430000
                                                                                 LUNA2                                                            112.511644000000000                                             112.511644000000000
                                                                                 LUNA2_LOCKED                                                     262.527169400000000                                             262.527169400000000
                                                                                 SRM                                                               31.150206340000000                                              31.150206340000000
                                                                                 SRM_LOCKED                                                       329.834494360000000                                             329.834494360000000
                                                                                 USD                                                          70,002.298065511600000                                          70,002.298065511600000
                                                                                 USDT                                                              84.145470312091200                                              84.145470312091200
                                                                                 USTC                                                               0.000000008420620                                               0.000000008420620

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
32981      Name on file                         FTX Trading Ltd.                 AVAX                                                                                     FTX Trading Ltd.                          0.026400000000000
                                                                                 DOT                                                                                                                                0.030220000000000
                                                                                 LTC                                                       8,461,582.000000000000000                                                8.461582000000000
                                                                                 SOL                                                                                                                                0.006008000000000
                                                                                 TRX                                                               1.000905582000000                                            1,000.905582000000000
                                                                                 USD                                                               7.250000000000000                                                7.250724465050000
                                                                                 USDT                                                             44.380710000000000                                          44,380.708706472500000
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                                                                                                  Seventh Omnibus Claims Objection
                                                                                                     Schedule 1 ‐ Modified Claims

                                                                                                    Asserted Claims                                                                               Modified Claim
  Claim
 Number                    Name                              Debtor                         Tickers                                 Ticker Quantity                                    Debtor                    Ticker Quantity
Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
79770      Name on file                         FTX Trading Ltd.                 GENE                                                                                     FTX Trading Ltd.                            2.299600000000000
                                                                                 GENE U$ 43                                    2,374,464,815,018,114.000000000000000                                                  0.000000000000000
                                                                                 GOG                                                                                                                                 39.992000000000000
                                                                                 GOG U$ 25                                     4,225,470,430,107,527.000000000000000                                                  0.000000000000000
                                                                                 HNT                                                                                                                                  0.499900000000000
                                                                                 HNT U$ 15                                     1,042,127,071,823,204.000000000000000                                                  0.000000000000000
                                                                                 LUNA2                                                                                                                                0.055876520460000
                                                                                 LUNA2_LOCKED                                                                                                                         0.130378547700000
                                                                                 LUNA U$ 20                                    1,680,672,268,907,563.000000000000000                                                  0.000000000000000
                                                                                 LUNC                                                                                                                                 0.180000000000000
                                                                                 SAND                                          7,042,253,521,126,761.000000000000000                                                  0.999800000000000
                                                                                 USD                                                                                                                                  0.988889530000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency
quantities and fiat grossly overstate the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to reduce such customer’s claim to the modified quantities and amounts.
